                      Case 4:17-cr-00208-JRH-CLR Document 418 Filed 07/16/18 Page 1 of 1




                              IN THE UNITED STATES DISTRICT COURT FOR
                                  THE SOUTHERN DISTRICT OF GEORGIA
                                            SAVANNAH DIVISION


       UNITED STATES OF AMERICA,


           V.                                                  Case No.     CR417-208


       RAYMOND N. WALLEN,
                                  Defendant.




                      Thomas A. Withers counsel of record for defendant Raymond N.

           Wallen in the above-styled case has moved for leave of absence.

           The Court is mindful that personal and professional obligations

           require the absence of counsel on occasion. The Court, however,

           cannot accommodate its schedule to the thousands of attorneys who

           practice within the Southern District of Georgia.

                      Counsel may be absent at the times requested. However, nothing

           shall prevent the case from going forward; all discovery shall

           proceed, status conferences, pretrial conferences, and trial shall

           not be interrupted or delayed. It is the affirmative obligation of

           counsel to provide a fitting substitute.



                      SO ORDERED this            day of July 2018.




                Ln
                CO                                  WILLIAM T. MOORE, JR.4^JUDGE
                                                    UNITED STATES DISTRICT COURT
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